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     UNITEDSTATESOFAMERICA,                                      2lk     e

                    Plaintiff,                                                     FILED by          D .C.
                    Ex rel.
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                                                                                       2 1# 22
                                                                                             .lj
      BRU CE JACO BS,
                                                                                    STEVEN r'
                                                                                            J LARIMORE
                                                                                    cLbqRK U S DlST C;T.
                    Plaintiff-Relator,                                               s () r
                                                                                          ?fFLA cMIAMI
     V S.

     BA N K O F AM ERICA CO RPO RATION ,
     BAN K OF AM ERICA ,N .A .,
     BA C H OM E LOAN S SERV ICIN G L.P.,
     COUN TRY W IDE H OM E LO AN S,IN C.,
      COUNTRYWI  DEFINANCIALCORPORATIOY                                                     /GOODMAN
      COUN TRYW IDE M ORTGA GE V EN TU RES,L.L.C.,
      COUN TRY W IDE BA N K,F.S.B .,and
      RECON TRUST COM PAN Y ,N .A .,

                    Defendants.


                                         C O M PLA IN T

               COM ES NOW , THE UNITED STATES OF AM ERICA (dûplaintiff') and
      Plaintiff-Relator BRUCE JACOBS (:ûRelator''),by and through Relator's attorneys,
      JA COB S KEELEY , P.L.L.C.,and files this Com plaint against BAN K O F A M ERICA

      CO RPOR ATION , BAN K OF AM ERICA , N .A ., CO UN TRY W ID E HO M E LO AN S,

      IN C.,    CO UN TRY W IDE      FIN AN CIAL               CO RPO RATION ,   COUN TRY W IDE

      M ORTGAGE       VENTURES, L.L.C., COUN TRYW IDE                        BANK, F.S.B. and

      RECONTRUST COM PANY,N.A.(Collectively referred to hereinasthedkDefendants'')
      fortheirviolationsoftheFalse ClaimsAct(:kFCA''),31U.S.C.jj 3729 - 3733,and
      allege as follows:
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                    INTRO D U CTIO N

                    The Relator in this action has discovered that the Defendants,including

     but not limited to Defendants BANK OF AM ERICA CORPOM TION, BANK OF

     AM ERICA,N.A.andBAC HOME LOANS SERVICING,L.P.(Collectivelyreferred to
     herein astûBOA''),haveccmspired to makefalseclaimsuptm One OfPlaintiffUNITED
     STATES OF AM ERICA'S departments,thereby unjustly enziching themselves by
     hundreds of m illions of dollars, all w hile being investigated for the infam ous ilRobo-

     Signing''Scandaland negotiatingthe$25 Billion NationalM ortgageSettlement.
                    Asexplained m oreclearly herein,theDefendantsmade falseclaim sto the

     FederalHousing Agency ($$FHA''),a division of the PlaintiffUNITED STATES OF
     AMERICA'SDepartmentofHousingandUrbanDevelopment($$HUD'').
                    The now infam ous illlobo-signing''Scandalinvolved foreclosure actions

     filed prim arily betw een 2008 and 2010, w here BO A and others system ically filed

     com plaints in foreclosure actions alleging to have lost original notes. B OA and other

      lenders then authorized outside com panies to fabricate surrogate signed m ortgage

      assignm entsto prove theirrightto foreclose in those cases.

             4.     These çtRobo-signed''m ortgage assignm entsw ere recorded aftertiling the

      foreclosure action and backdated to falsely docum enta transfer ofthe note and m ortgage

      to the plaintiffbefore tiling the foreclosure. The ikRobo-signed''m ortgage assignm ents

      w ere the prim ary evidence used to establish the plaintiff'srightto foreclose. Later,BO A

      caused the m ortgage assignm ents to be fabricated and recorded before filing the

      foreclosure instead ofafter.

                     In 2010,the Florida Attorney General's Office lssued a report entitled

      tiunfair,Deceptive and Unconscionable Acts in Foreclosure Cases,''which docum ented
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     BOA 's use of fabricated m ortgage assignm entsin detail.

             6.     A s a result of Florida A ttorney General's Office investigation, BO A

     entered into the $25 Billion NationalM ortgage Settlem entto settle the SsRobo-signing''

     scandalin A prilof2012.

                    Unbeknow nst to Plaintiff,UN ITED STA TES O F A M ERICA ,during the

     negotiations leading up to the $25 Billion National M ortgage Settlement, BOA
     surreptitiously engaged in an entirely new,but eerily familiar scheme to continue to

     foreclose upon hom eow ners in cases pending throughout the nation since 2008, by

     fabricating different,false evidence of standing to foreclose.

                    Beginning in 2010,BOA engaged team s of surrogate signorsem ployed by

     its w holly ow ned subsidiary,D efendantRECON TRU ST CO M PAN Y ,N .A .,to fabricate

     surrogate signed endorsem ents on original notes at facilities in Tam pa, Florida, Fort

     W orth,Texas and Sim iV alley,Califonzia.

                    RECON TRU ST COM PAN Y ,N .A .acted as the docum entcustodian w ith

     tiducialy obligations to identify w hetheroriginalnotes lacked the requisite endorsem ents.

      Since 2010,federalguidelines m ade it clear that docum entcustodians w ere notallow ed

     to endorse originalnotes.

             l0.    B OA caused RECON TRU ST COM PAN Y ,N .A .em ployees to surrogate

      sign originalnotes to be used as evidence in foreclosure com plaints filed betw een 2008

      and 2009 thatfalsely alleged the notesw ere lostorstolen.

                    RECON TRU ST COM PA N Y ,N .A .em ployeesused rubber-stam psto affix

      signatures of authorized signors. Some employees even used ûtdualstamps''with the

      signaturesoftwo authorized signors on the sam e stam p.

                    Al1ofthe rubber-stamped signatureswere surrogate signed onto undated
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     endorsem ents,m eaning signed outside the presence and controlofthe authorized signor.

                    In the 2008 and 2009 foreclosure cases,the plaintiffs claim ed to have lost

      the originalnote and affixed rubber-stam ped endorsem ents to the originalnote during the

      litigation. These surrogate signed endorsem ents were falsely presented to courts as

      having been affixed to the originalnote before the filing ofthe foreclosure action.

             14.     ln the 2010 and later cases, these surrogate signed rubber-stam ped

      endorsem ents were aftsxed before the foreclosure filing,but after federal guidelines

      confirm ed that it w as entirely im proper for docum ent custodians to surrogate sign

      endorsem ents on originalnotes forany party.

                     Throughout Florida, dozens of reported appellate cases reversed

      foreclosure judgments because the evidence failed to prove the endorsements were
      affixed before the filing ofthe foreclosure.

             16.     ln al1thecases,to buttressitssurrogate signed evidenceofstanding,BOA

      also prepared m ortgage assignm entsin anticipation oflitigation thatreflected transactions

      thatneveroccurred to show the note and m ortgage w ere sold to the foreclosure plaintiff.

                     The D efendants then know ingly used these rubber-stam ped surrogate

      signed endorsem ents and false m ortgage assignm ents in both foreclosing on hom es

      throughoutthe nation as w ellas m aking false m ortgage insurance claim sto FHA w ithout

      having the rightto any such insurance claim paym ents.

             18.     M oreover, the D efendants caused senior vice presidents of BOA and

      RECONTRUST COMPANY,N.A.to provideperjured testimony in sworn video-taped
      depositions in an effort to cover-up the fact that the rubber-stam ped surrogate signed

      endorsementswereadded to originalnotesafterthe 2008 and 2009caseswere filed.

                     M oreover, the D efendants engaged in bad faith, stonew all discovery
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     tactics to preventPlaintiff-Relator from obtaining evidence to expose the fullextentof

     thefraud involving surrogatesigned endorsem entsand false mortgage assignments.

                     Because ofthe Defendants'false claim smade upon FHA,the Plaintiffis

      believed to havepaid the Defendantswellin excessof$600,000,000.00. From M arch 1,
      2012 to M ay 1,2015,B OA subm itted 6,268 claim s to FH A for defaulted m ortgage loans

      associatedwiththeGovernmentNationalMortgageAssociationIûGGINNIE M AE'')alone
      resulting in paymentsof$622,234,247.29 totheDefendants.
             ll.     JU RISD ICTIO N A ND V ENU E

                     ThisCourthasjurisdiction pursuantto 28U.S.C.j 1331and 31U.S.C.j
      3732 because this action and the claim s brought herein allege violations of the FCA .

      This Courthasjurisdiction pursuantto 28 U.S.C.j 1345 because this is an action
      com m enced by the Plaintiff UN ITED STA TES OF AM ERICA . This Court also has

     J'urisdiction pursuantto 28 U.S.C.j 1355 becausethisisan action forthe recovery or
      enforcem entofa fine,penalty orforfeiture incurred under an ActofCongress.

             22. Venueisproperin thisDistrictpursuantto 28 U.S.C.j 1391becausethe
      Plaintiff-Relator BRU CE JA CO BS resides in M iam i-Dade County, Florida, and his

      personal know ledge of the D efendants' false claim s derive prim arily from events that

      occurred in this District.

             23. Venue is properin this Districtpursuantto 28 U.S.C.j 1391 and 3l
      U .S.C. 3732 because the D efendants conduct or conducted business in M iam i-D ade

      County,Florida.

                     VenueisalsoproperinthisDistrictpursuantto28U.S.C.j1391because
      a substantial part of the events that give rise to these claim s occurred in M iam i-D ade

      County,Florida.
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              111.    PAR TIE S

              25.     Plaintiff UN ITED STA TES OF A M ERICA, one of the bestcountries in

      the world,istheûûhomeofthe free''and û'the land ofthebrave.''1

                      Plaintiff-ltelator BRUCE JA CO BS is an attonzey wh0 resides in M iam i-

      D ade County, Florida and practices 1aw in the areas foreclosure defense and consum er

      protection in South Florida courts.

              27.     Plaintiff-Relator is also a consum er who faced a foreclosure against his

      hom e,wherein BO A prepared a surrogate signed nlbber-stam ped endorsem entand a false

      m ortgage assignm entfora bankruptentity thatw as attached to the foreclosure com plaint

      filed againstPlaintiff-Relator.

              28.     Plaintiff-Relatorhasboth directand personalknowledge ofthe fraudulent

      schem e and the false claims described herein. Plaintiff-Relator gained the requisite

      know ledge to be an originalsource of inform ation in this action by both investigating his

      ow n hom e m ortgage loan and by litigating hundreds offoreclosure actions which allowed

      him to com pile and aggregate the inform ation he w as able to discoverin these actions.

              29.     DefendantBANK OF AM ERICA CORPORATION isa diversified global

      financial services and a balzk holding com pany. lt is a D elaw are corporation

      headquartered in Charlotte,N orth Carolina.

              30.     D efendantBAN K OF A M ERICA ,N .A .is a nationalbanking association

      headquartered in Charlotte,N orth Carolina.

                      D efendant BA C H OM E LOA N S SERVICIN G , L.P. Operates as a



      1Although thisparty needsno introduction, thedraftersofthisCom plaintthoughtitappropriateto rem ark
      on ourcountry'sgreatnessand quote from thelyricsofTheStarSpangled Banner,thenationalanthem for
      our country. The Iyrics actually com e from a poem nam ed Defense ofFortM 'Henry written in 1814 by
      then 3s-year-oldlawyerandam ateurpoetFrancisScottKey.
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      subsidiary ofDefendantBAN K O F A M ERICA ,N .A .

             32.    D efendant COUN TRYW IDE H OM E LOAN S, IN C. w as a servicing

     company thathad formerly been known asCountrywide Home LoansServicing,L.P.

      was a Texas lim ited partnership with its principal place of business in Plano, Texas.lt

      w as,for a tim e,a wholly ow ned subsidiary ofD efendantBAN K OF AM ERICA ,N .A . ln

     July 2011,itw as m erged into DefendantBA N K OF AM ERICA ,N .A .

             33.    Defendant CO UN TRY W ID E FIN A N CIAL CORPORA TION w as an

      independenttinancialservices com pany headquartered in Calabasas,Califom ia before it

      waspurchased by DefendantBAN K OF A M ERICA CORPOR ATION in 2008.

                    Defendant COUN TRY W ID E M O RTGA GE V EN TURES,L.L.C. w as a

      subsidiary ofD efendantCOUN TRY W ID E FIN AN CIA L CORPOR ATION .

             35.    D efendant COUN TRY W ID E BAN K , F.S.B. was a subsidiary of

      D efendant    COUN TRYW IDE       FIN A N CIAL     CORPOR ATION .           Defendants

      COUN TRY W ID E      HOM E      LO AN S,     IN C., COUN TRY W IDE        FIN AN CIA L

      COR PORA TION , CO UN TRY W IDE            M O RTGA G E   V EN TURES,              and

      COU N TR YW ID E M ORTGA GE V EN TU RES, L.L.C. shall be collectively referred to

      herein asûtCO UN TRY W IDE.''

                    DefendantRECONTRUST COMPANY,N.A.(CSRECONTRUST'') is a
      nationalbank that acts as docum ent custodian for BO A . RECON TRU ST is a w holly

      ow ned subsidialy of D efendant BAN K OF AM ERICA , N .A . and operates docum ent

      custodialfacilitiesin (i)FortW orth,Texas,(ii)Tampa,Florida and (iii)SimiValley,
      California.   The facilities operated by RECONTRU ST are owned by BOA.

      RECONTRUST wasformerlybranded asTreasury Bank,N.A.,which wasestablishedby

      CO UN TRYW IDE.
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             lV .   BAC K G R O UN D A N D G ENE R AL ALLEG A TIO NS

             37.    The FHA provides m ortgage insurance on loans m ade by Fl-lA -approved

     lenders throughout the UN ITED STA TES O F AM ERICA and its territories.

      insures m ortgages on single fam ily and multi-family hom es including manufactured

     hom esand hospitals. ltis the largestinsurer ofm ortgages in the w orld,insuring over34

      m illion properties since its inception in 1934. FHA currently has 4.8 m illion insured

      single-familymortgagesand l3,000insuredmultifamilyprojectsinitsportfolio.
             38.    FH A m ortgage insurance provides lenders w ith protection against losses

      as the resultofhom eow ners defaulting on theirm ortgage loans. FHA insured loans are a

      type of federal assistance and have historically allowed lower income Americans to

      borrow m oney to purchase a hom e thatthey w ould not otherwise be able to afford. The

      lenders bear less risk because FH A w ill pay a claim to the lender in the event of a

      hom eow ner's default. Loans m ust m eet certain requirem ents established by FH A to

      qualify forinsurance.

             39.    PlaintiffUN ITED STA TES O F AM ERICA ,tltrough FHA ,pays insurance

      benetitsto Glmortgageegsl''pursuantto 12.U.S.C.j 1710 when a mortgage insurance
      claim is made to FHA. Pursuantto 12 U.S.C.j 1707,a ûûmortgagee''includes the
      original lender under a m ortgage, and his successors and assigns approved by the

      Secretary ofHUD (ûISECRETARY'').
             40.    Pursuantto 12 U .S.C.1710,the FH A w illpay claim ants a sum Cûequalto

      the originalprincipalbalance obligation of the m ortgage''which was unpaid upon the

      date of(i)the assignmentofthe mortgage to the SECRETARY,(ii)the institution of
      foreclosure proceedings,(iii)the acquisition ofthepropel'ty afterdefaultotherthan by
      foreclosureor(iv)thesaleofthemortgagedpropertybythemortgagor.
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             41.    GINNIE MAE isagovernment-sponsored enterprise (û1GSE''). A GSE is
     a financial services corporation created by the Congress of the UN ITED STATES

      A M ERICA . Other w ell-know n G SES are the Federal N ationalM ortgage A ssociation

      (STANNIE M AE'') and the Federal Home Loan M ortgage Corporaticm (GSFREDDIE
      MAC'')
             42.    FH A ,GIN NIE M AE,FAN N IE M A E and FRED DIE M A C have certain

      requirem ents and guidelines fora m ortgage loan to be insured by FHA . The Defendants

      are obligated to com ply w ith these requirem ents and guidelines in order to m ake

      m ortgage insurance claim sto the FH A .

                    ln fact, the Defendants have agreem ents in place w ith FH A , G IN NIE

      M A E,FA NN IE M AE and FRED DIE M A C to com ply w ith their guidelines in order for

      the D efendantsto continue to benefitfrom the FH A m ortgage insurance program .

                    A m ong other requirem ents contained w ithin the guidelines of FHA ,

      G IN NIE M A E,FAN NIE M AE and FRED DIE M A C is thatthe Defendants are required

      to abide by FHA 's,G IN N IE M A E's,FAN NIE M AE 'S and FREDD IE M A C'S guideline

      that states all docum ent custodians who m ight have physical possession of m ortgage

      notes at any point in tim e to act as fiduciaries and to ensure that the necessary

      docum entation exists to establish a com plete chain of title from the m ortgage loan

      originatorto the true ow ner,whetherby endorsem ent,assignm entorotherw ise.

             45.     As early as January of 2010, the FREDD IE M A C guidebook expressly

      stated that document custodian em ployees cannot act as an attorney-in-fact,agent or

      delegatee in order to endorse notes for any buyer or seller. Thereafter, the FAN NIE

      M AE guidebook issued a sim ilarproclam ation thatdocumentcustodian employees,like

      those ofRECON TRU ST,could notendorse originalnotes.
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             46.     In February of 2012,49 state attorney generals,the District of Colum bia

      andtheUNITED STATESOFAMERICA announcedtheirhistoricjointstateandfederal
      settlem entagreem entw ith BO A ,COUN TRY W IDE and fourother m ortgage servicers in
                                                                                         2
      which thedefendantsagreed to pay $25billion dollarsin finesfortheirbad acts.
             47.     This settlem ent agreem ent is now know n as the N ational M ortgage

      Settlement(;iNM S'').Theagreementsettled stateandfederalinvestigationsfinding the
      country's five largestm ortgage servicers routinely signed foreclosure related docum ents

      outside of the presence of a notaly public and w ithout really knowing w hetherthe facts

      contained therein w ere correct. Both practicesviolated state and federallaw .

              48.    The m edia coined the term dllkobo-signing''to describe the practice by the

      defendants in the N M S who routinely signed foreclosure related docum ents outside the

      presence of a notary public and w ithoutknow ing ifthe facts contained therein were true.

              49.    The prim ary docum ents that w ere found to be illegally signed w ere

      assignm ents ofm ortgagesthatw ould then be used by plaintiffs in foreclosure actions as

      evidence within state court actions. V arious parties including Defendants used these

      false assignm entsofm ortgagesto m ake claim sforFH A insurancepaym ents.

              50.    M any of the assignm ents falsely claim ed that M ortgage Electronic

      Registration,lnc.(CCM ERSD')hadassignedthemortgageandmortgagenotetotheplaintiff
      in a foreclosure action. These assignm ents were not only signed by a person w ithout

      know ledge and w ithouta notary present,butw ere also false because no such transaction

      evertook place in reality.
      2 TheConsentJudgmententered by DefendantBank ofAm ericaonApril4,2012 referencestheCom plaint
      in the N M S alleging thatiçBank ofAm erica Corporation,Bank ofAm erica,N .A.,BAC Hom e Loans
      Servicing,LP f/k/aCountlyw ideH om eLoansServicing,LP,Countlyw ideHome Loans,lnc.,Countlyw ide
      Financial Corporation,Countryw ide M ortgage Ventures, LLC and Countrywide Bank,FSB....'' See,
      ConsentJudgm entofBank ofAm erica,Corp.,etal.in CaseN o.1:12-cv-00361-RM C in theUnited States
      D istrictCourtfortheDistrictofColum bia.Thereisno mention ofDefendantRECON TRU ST in theN M S.
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             51.    The State of Florida's Attorney G eneral's O ffice investigation into

      deceptive practices in foreclosures, as described above, w as key to unveiling the

      widespread fraudthatisthesubjectoftheNM S.Oneofthekey piecesofevidencethat
      broke the investigation w as the fact that w hen the investigators gathered hundreds of

      assignm ents of m ortgages purportedly signed by the sam e person and exam ined them ,

      they found thatthe signatures did notm atch.

             52.     The N M S required B OA ,CO UN TRY W ID E and the other servicers to

      com ply w ith the settlem entterm s ofthe N M S asthey continued their m ortgage servicing

      operationsafterentering into the agreem ent. BOA and COUNTRYW IDE officially filed

      theirconsentjudgmentfortheNM S on April4,2012 (ûCCONSENT JUDGM ENTD').As
      partof the settlem ent,BOA and COUN TRYW IDE agreed to com ply with the servicing

      standardsofthe N M S setforth in Exhibits A and E ofthe CON SEN T JU D GM EN T.

                     Exhibit      of the CON SEN T JU D GM EN T required BO A and

      COU N TRY W ID E to ensure that factual assertions m ade in pleadings to be accurate,

      com plete and to be supported by com petentand reliable evidence.

             54.     ExhibitA ofthe CON SEN T JU D G M EN T required thataftidavits,sworn

      statem ents and declarations be based on personal know ledge in accordance w ith

      evidentiary requirementsofthe applicable state orfederallaw .

             55.     Exhibit A of the CON SEN T JU D G M EN T also required BO A and

      COUN TRY W IDE to ensure thatm ortgage assignm ents executed by oron behalf ofthem

      to be executed with appropriate legal authority, accurately reflecting the completed

      transaction and properly acknowledged.

                     There is only one m ention ofthe word içendorsem ent''w ithin ExhibitA to

      the CONSENT JUDGM ENT. W hen discussing bankruptcy documents, Exhibit A
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      required BO A and COUN TRY W IDE to ensure that each proof of claim tiled w ithin a

      bankruptcy courtto be documented by attaching the original or a duplicate ofa note,

      including a1lendorsem ents.

                                    ExhibitE to the CON SEN T JU D GM EN T is the enforcem entterm s ofthe

      N M S. Pursuantto the CON SEN T JUD G M EN T,only Section A of ExhibitE applies to

      the servicing standardsrequired by the N M S. Section A ofExhibitE im poses a tim eline

      for BO A and COUN TRYW ID E to com ply w ith in im plem enting the requirem ents of

      servicing standardsdetailed by ExhibitA ofthe CON SEN T JUD GM ENT.

                                    TheN M S isa directresultofthe 2008 foreclosure crisiswherein m ortgage

      servicers,lenders and banksw ere overwhelm ed by the num berofhom eow nersdefaulting

      on their m ortgage loans. This led to national system ic fraud and deceptive practices

      within foreclosure actions created to ease the way by w hich the plaintiffs in foreclosure

      actionscouldproceedtogetjudgmentsagainsthomeowners.
                      59.           From the outset of the 2008 foreclosure crisis,the Defendants and other

      parties sim ilarly situated to them have system ically m isrepresented the law as described

      herein to state and federalcourts arguing thata recorded m ortgage assignm entalone w as

      legally sufficientevidence ofstanding to foreclose.

                                     ln 2006,in response to allegations ofw idespread im proprieties m ade ata

      FAN NIE M A E shareholdersm eeting,the internationallaw firm ofBakerH ostetlerissued

      areporttoFANNIE M AE toaddresstheallegations('GtheBH REPORT'DI. On February
      4, 2012,theNew York Tim espublished thisattorney-clientprivileged reportonline.3



      3The BH reportis available online athttp-                       ,''''/v5.
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             61.     The BH REPORT to FA N N IE M AE included a section atpage 37 entitled

      'iEffects of a N ote Endorsed in Blank''w hich contained the banking industry's official

      legalposition thatArticle9oftheUniform CommercialCode(i;UCC''),entitled secured
      transactions,controlsthesaleofpromissorynotessubjectto amortgage.
             62.     O fkey im portance to the banking industry w asthatthey w ould be able to

      increase their profits from the securitization of m ortgage loans by avoiding the need to

      record assignm entsofm ortgages in the public recordswhich would requirethem to pay

      documentary stamps to localgovernm ents,which would drastically reduce theirprofits.

      The BH REPORT explained that Article 9 of the U CC now coditied the com m on 1aw

      rule thatthe S'm ortgage follow sthe note.''

              63.    Before the BH REPORT was issued,the State of Florida and m any other

      states w ithin the UN ITED STA TES O F A M ERICA revised their statutory codifications

      of the U CC in 2001. Specifically,the State of Florida revised Article 9 of the Florida

      U CC to expand its scope to include the sale ofprom issol'
                                                               y notes.

              64.    Thenewly revised Florida Statute j 679.2031codified the com m on law
      nzlethatthemortgagefollowsthenote.Thestatute furtherprovided that,unlesstheparty

      seeking to enforce the m ortgage and m ortgage note was the loan originator,any party

      seeking to enforce a m ortgage and m ortgage note m ust present evidence that the

      foreclosing party paid value to a party who had the right to enforce and transfer the

      m ortgage note and thatthe party isin possession ofthe originalnote.

              65.    The revised statute created a isstatute ofFrauds''form ortgage assigm nents

      requiring proofthat,ifa m ortgage note is transferred,the purchaser ofthe m ortgage note

      establish both ow nership ofthe loan and possession ofthe originalprom issory note. The

      security interestonly follow ed the sale ofthe prom issory note ifthere w as evidence of a
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      com plete chain of title and chain of custody for all transfers from the originator to the

      party seeking to enforce the security instrum ent.

             66.     Also before the BH REPORT wasissued,the State ofFlorida and m any

      other states within the UNITED STATES OF AM ERICA again revised their statutory

      codifications of the UCC in 2005. Specifically,the State of Florida revised Florida

      Statutej702.01sothatthebankingindustrywouldno longerhavetorecordassignments
      ofm ortgages in the public records,thereby avoiding m ore docum entary stam p expenses.

             67.     The Florida Senate Staff A nalysis Reportfor this 2005 change confinned

      to m em bersofthe Florida Congress thatassignm ents ofm ortgages were to be considered

      a secured transaction within the m eaning ofthe U CC pursuantto the 2001 am endm ents.

             68.     Moreover,Official CommentNumber 7 to Florida Statute j679.1091
      expressly provided thatany attem ptto obtain orperfecta security interestin a m ortgage

      loan by non-A rticle 9 law ,such as by recording an assignm entofm ortgage withoutm ore,

      would be w holly ineffective.

             69.     Despite the clear changes to Florida 1aw contirm ed by the BH report,the

      Defendants and their agentscontinue to m isrepresentto courtsthroughoutthis nation that

      Article 3 ofthe U CC controlsand thatm ere possession of a note w ith an endorsem entin

      blank providesthem w ith sufficientevidence ofstanding in state foreclosure actions.

                     The D efendants and theiragents furtherm isrepresentto courts around the

      nation that every m ortgage note on a residentialhom e,w hich are far from uniform ,are

      negotiable instrumentsdespite the factthatthe promissory notes provide thatadditional

      amountsdue under the note are provided forin the m ortgage and additionalprotections

      the m ortgage associated with the m ortgage note,thereby destroying the negotiability of

      the m ortgage notesunderthe U CC.
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                    Before CO UN TRY W ID E becam e part of BO A , C OUN TRY W ID E

      created Treasury Bank, N .A . as a w holly ow ned subsidiary to act as a docum ent

      custodian for original loan documents coming from COUNTRYW IDE'S network of

      correspondentlendersand branch offices.

                    Treasury Bank, N .A . eventually was renam ed and rebranded as

      RECON TRU ST after BO A acquired COUN TRYW IDE. RECON TRU ST currently is a

      w holly ow ned subsidiary of BAN K O F AM ERICA , N .A . and operates docum ent

      custodialfacilitiesin (i)Fol4 W orth,Texas,(ii)Tampa,Florida and (iii) SimiValley,
      California. The RECON TRU ST facilitiesare w ithin propertiesowned by BO A .

                    RECON TRU ST did Operate and continues to operate as a tiduciary in the

      securitization m odel who is charged w ith ensuring the originalloan papersvork has a

      proper and com plete chain of endorsem ents and m ortgage assignm ents back to the

      originatorby the closing date ofany poolofloans in a particularsecuritized trust.

                     SPEC IFIC ALLEG A TIO N S

                     lm m ediately follow ing the 2010 Florida A ttorney G eneral's Report on

      Unfair, D eception and Unconscionable A cts in Foreclosure Cases, the D efendants

      surreptitiously conspired to create a new system forfabricating surrogate signed evidence

      and false m ortgage assignm ents unbeknow nstto the U N ITED STATES O F A M ERICA .

                     As the Defendants were negotiating the $25 Billion NM S,they began
      executing a new fraudulent schem e that allow ed them to m ake false statem ents to the

      FHA,continueto prosecute existing foreclosureswith improperevidence and bring new

      foreclosure actions around the nation w ith thisfalse evidence.

             76.     Their new unconscionable schem e was calculated to interfere w ith the

      judicialsystem'sability to impartially adjudicate a matterby unfairly presenting false
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      evidence in courts,thereby ham pering the defense to the foreclosure actions w herein the

      evidence w aspresented.

                    Further,the new schem e was created with the intentto evade detection by

      the federal officials responsible to negotiate the N M S. A s a result, the N M S did n0t

      contemplatea settlem entforthisnew form ofmisconduct,did notpunish thism isconduct

      and did notproscribe this m isconduct.

             78.     As result,the D efendants effectively continued to prosecute foreclosures

      filed since 2008 using this new fraudulent evidence before,during and after the N M S

      withoutdetection.

                     Plaintiff-Relator BRU CE JA COB S began his legal career as a M iam i

      prosecutor and then represented banks and tinancial institutions in foreclosures before

      going into private practice forhim self.

             80.     W hen the foreclosure crisis hit in 2008,he began accepting foreclosure

      defense cases,wherein he litigated and investigated hisclients'casesthoroughly.

                     A sPlaintiff-Relatorlearned and investigated the intricacies offoreclosure-

      related issues,he began to investigate his ow n m ortgage loan as w ellas the loans ofhis

      m any clients,ultim ately discovering the D efendants'new fraudulent schem e to fabricate

      evidenceofstanding in foreclosuresnotdetectedby theNM S.

                     Based upon what the Plaintiff-Relator discovered in his own foreclosure

      action and the circum stantialevidence he exposed thatsupported his suspicions,Plaintiff-

      Relator set out to prove that im mediately following the Florida Attorney General's

      lnvestigation and before,during and aftertheNM S negotiations,theDefendantsbrazenly

      continued to produce false documentsand prosecute foreclosuresusing surrogate signed

      endorsements placed on originalnotes by team s ofdocum entcustodian em ployees and
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      false m ortgage assignm entsasevidence of standing to foreclose.

             83.     From the Plaintiff-Relator's experience in handling hism any clients being

      prosecuted in state courts for foreclosure, he noticed that w ithin the initial floods of

      foreclosure actions since the crisis in 2008 there w ere system ic problem s w ith the initial

      complaintsalleging lostnotes. M any tim es,the com plaints had an unendorsed copy of

      the lostnote and som etim esthey w ould noteven attach a copy ofthe note.

             84.     A s the Plaintiff-Relator continued to litigate his clients'cases to trial,he

      began to discover a pattern whereby the plaintiffs in these actions would system ically

      produce originalnotes later on in litigation w ith undated surrogate signed endorsem ents

      thathe suspected wereadded to the Originalnotesafterthecomplainthad been filed. The

      Defendants and their aftiliates w ere litigating m any of the cases wherein the Plaintiff-

      Relatorsuspected thatfalsified evidence w asbeing used.

                     The Plaintiff-Relator discovered after m any m onths and years of scouring

      through docum ents provided to him in litigating his clients'cases,and his ow n case,that

      there w ere fourdistinctrubber-stam ped signatures thatbegan appearing on originalnotes

      in cases w herein the D efendants were involved. Those rubber-stam ped signatures bore

      the names of (i) Michelle Sjolander,(ii) Laurie M eder,(iii)David Spectorand (iv)
      Christina Schm idt.

              86.    Based upon the frequency and tim ing of w hen these rubber-stam ped

      signatures appeared,Plaintiff-Relator began to target his investigation atthose cases he

      had wherein these fourrubber-stam ped signatureswerefound on originalnotes.

              87.    The four nam es above appeared on rubber-stam ped endorsem ents in a

      variety ofform ats,including butnot lim ited to dual-rubber-stamps wherein one single

      rubber-stam p contained to alleged endorsem ents w ith tw o different nam ed parties on
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      them. Therubber-stampswith the namesofM ichelle Sjolander,Laurie M eder,David
      Spectorand/orLaurie Schm idtshallherein be furtherreferenced asthe ûISTA M PS.''

             88. Over the Defendants' objections,in November of 2012,the Plaintiff-
      Relatorobtainedacourtordertoallow thePlaintiff-RelatortodeposeM ichelleSjolander,
      (t(M s.Sjolander'')a SeniorVice PresidentofBank ofAmerica,and onetheindividuals
      whosenameappearsintheSTAMPS. ThePlaintiff-Relatordeposed M s.Sjolanderin a
      videotaped deposition on February 26,2013.

             89.    Before the deposition took place,the D efendants through their law firm s

      representing them in statecourtforeclosure actionsobtained aprotective orderin orderto

      attem pt to prevent the Plaintiff-Relator from sharing or dissem inating the deposition

      videoortranscriptofM s.Sjolander.
             90.    The protective order w as obtained under the guise that the Plaintiff-

      Relator is a m edia savvy attorney w ho w ould im m ediately post the deposition to the

      internet,therebycausingMs.Sjolanderharassmentfrom thegeneralpublic.
                    The protective order was later vacated as the judge who ordered the
      Defendantsto provide Ms.Sjolanderfordeposition found thattheprotectiveorderwas
      being m isused in the D efendants' efforts to stonew all and unfairly block the Plaintiff-

      Relator'sinvestigation into the STA M PS.

             92. Plaintiff-Relatornoticed Ms.Sjolanderforthe courtordered video-taped
      deposition in his ow n foreclosure action, and others, w hich w as held in V an N uys,

      California on February 23,2013.

             93. Afterhoursofquestioning,M s.SjolanderadmittedtothePlaintiff-Relator
      that w hile she w as em ployed by the Defendants, there w ere team s of RECON TRU ST

      employeesatlocationsin Florida,Californiaand Texasaffixing surrogate signed rubber-
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      stam ped endorsem entsonto originalprom issory notes.

             94. Ms.Sjolander testified under oath thatallRECONTRUST employees
      affixed the surrogate signed endorsem ents using rubber-stam ps within days ofthe loan's

      origination,w ithoutcreating any evidence to corroborate thatallegation.

             95.    These rubber-stamped endorsements gave the Defendants the evidence

      they needed to foreclose upon m ortgage loans sold to FREDD IE M A C,FAN N IE M AE,

      G IN NIE M A E and othersecuritized trustswhich,allofw hich w ere insured by FHA .

                    AccordingtoMs.Sjolander,therewerean unknownnumberofstampsbut
      M s.SjolandertestifiedthattherewerealargenumberofSTAM PSbeingusedatmultiple
      locationsaroundthenationsuchasfacilitiesin (i)Tampa,Florida,(ii)FortW orth,Texas
      and(iii)SimiValley,California.
             97. According to the testimony of M s. Sjolander, COUNTRYW IDE
      originated approxim ately 60 m illion loans intending to resell them on the secondary

      m arketto FAN N IE M A E,FRED DIE M A C,GIN N IE M A E and various securitized trusts.

             98.    The guidelines and agreem ents betw een the Defendants and FAN NIE

      MAE,FREDDIE M AC and GINNIE MAE expresslyrejectDefendants'system tocreate
      surrogate signed endorsem ents and false M ERS m ortgage assignm ents for loans sold to

      FA NN IE M A E,FRED DIE M A C and GIN NIE M A E.

             99. Over the Defendants' numerous objections, the Plaintiff-Relator also
      obtained m ultiple court orders for the D efendants,and specifically RECON TRU ST, to

      providetheirCoporateRepresentative,M s.M arie Garner(Ms.Garner),a SeniorVice
      PresidentofRECON TRU ST fordeposition.

                    On N ovem ber 24,2014,Plaintiff-Relator deposed M s.Garner in his ow n

      foreclosurecase,and others,in M iami-Dade County,Florida.
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             101. D uring her deposition,M s.G arner acknowledged she w as designated as

      the Corporate Representative for both RECON TRU ST and BO A , and adm itted that

      RECONTRUST employees commonly placed and affixed rubber-stamped signatures of

      M s.SjolanderoutsidethepresenceofM s.SjolanderandwithoutM s.Sjolander'spresent
      intention to adopttheirrubber-stam ped signature endorsem ents,asrequired by the U CC.

             102. M s. G arner, as Corporate Representative for both RECON TRU ST and

      BOA ,adm itted during her deposition thatRECON TRU ST em ployees com m only placed

      and affixed rubber-stam ped signatures of M r.D avid Spectoroutside the presence ofM r.

      Spector and w ithout M r. Spector's present intention to adopt their rubber-stam ped

      signature endorsem ents,as required by the U CC.

             103. M s. G arner, as Corporate Representative for both RECON TRU ST and

      BO A ,adm itted further during herdeposition that RECON TRU ST em ployees com m only

      placed and affixed nlbber-stamped signaturesofM s.Laurie M ederoutside the presence

      of M s.M eder and w ithoutM s.M eder's present intention to adopt their rubber-stam ped

      signature endorsem ents,as required by the U CC.

             104. Both Ms. Garner and M s. Sjolander admitted that RECONTRUST
      operated rubber-stam p facilities in m ultiple locations wherein team s of up to thirty

      em ployeeswould use the STAM PS attheirow n discretion.

                    According to the testimony of M s. Sjolander and M s. Garner, only
      MichelleSjolander,DavidSpector,LaurieM ederandChristinaSchmidtwereauthorized
      to endorse originalnoteson behalfofthe D efendants'various corporate entities.

             106. During theirdepositions,bothM s.GarnerandM s.Sjolandersworeunder
      oath as to CO UN TRY W IDE'S standard operating procedure for adding endorsem ents to

      allloans eventually sold to FAN N IE M A E,FRED D IE M A C,GIN NIE M A E ora private
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      securitized trust.

             l07. Both M s. Garner and M s. Sjolander swore under oath that the
      endorsem ents w ere added shortly after origination of the loan during this standard

      operating procedure.

              108. However,both Ms.Garnerand Ms.Sjolander admitted underoath that
      there is no evidence to corroborate that these endorsements were systemically added

      shortly afterthe loan origination.

              109. Duringtheirdepositions,bothM s.GalmerandM s.Sjolandersworeunder
      oath that D avid Spector's endorsem ent stam ps w ere used for a11loans originated before

      heresignedin 2006.M s.Garnerand M s.Sjolanderthen claimed thatafterMr.Spector
      resigned his endorsem ent stam ps w ere collected from the RECON TRU ST endorsem ent

      room s and neverused again.

              110. How ever, the D efendants and their law firm s in the cases w herein

      Plaintiff-Relator represents a hom eow ner in foreclosure actions have stonew alled all

      discovery effortsto investigate these claim s.

                     Despitethetestimony ofM s.Sjolanderand Ms.M eder,the Defendants,
      over their objection,produced k'stamp issuance fonns''in discovery to the Plaintiff-
      Relator w hich established that dozens of other departm ents besides the endorsem ent

      roomswere issued rubberendorsementstamps with Michelle Sjolander's and Laurie
      M eder's signatureson them .

                     Because of certain discovery orders thatthe Plaintiff-Relator obtained in

      the circuit courts of the State of Florida,the D efendants and their law firm s have sought

      to appeal discovery orders to higher courts in their continued efforts to stonewallthe

      Plaintiff-Relator'sinvestigation into the STA M PS.
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             113. The D efendants' law tirm s brought appeals to both the Third D istrict

      Court of A ppeal and the Fourth District Court of A ppeal in the State of Florida

      attem pting to reverse lowercourts'rulings thatthe Plaintiff-Relator should be provided

      with additionaldiscovery asto the STAM PS. In theirappeals,the Defendants and their

      1aw firm sclaim ed thatthe discovery soughtis going to be unduly burdensom e and would

      costofone m illion dollarsto produce.

             114. The D efendants and their law firm s, at the D efendants' direction,have

      attempted to further stonewalldiscovery into the STAM PS by asking circuitcourts to

      require defendants in foreclosure actions to pay forthe requested discovery relating to the

      STAMPSandbygoingtofederalbankruptcyjudges,effectivelyforum shopping,seeking
      orders to preventhom eowners from defending their foreclosure actions in order to shut

      dow n the Plaintiff-Relator's investigation into the STA M PS.

                     The Plaintiff-Relator further alleges that in addition to the D efendants'

      false use ofthe STAM PS described above to prosecute foreclosuresand m ake insurance

      claim s to FH A ,the D efendants have also continued their use of falsitied assignm ents of

      m ortgages purporting to state that M ERS had som e interest in m ortgage loans and

      m ortgagesthatitwasassigning to anotherpal'
                                                ty by w ritten instrum ent.

                     Plaintiff-Relator in his capacity as an attorney for m any of his clients

      facing foreclosure actions has deposed num erous w itnesses as to thc veracity of these

      purported assignm entsofm ortgagesfrom M ER S to som ethird party.

                     The witnesses who have been deposed with knowledge have adm itted

      under oath thatthe transactions purported to be m ade by M ERS in factnever occurred,

      nor could they ever occur, as M ER S has no ow nership of any naortgage notes or

      m ortgages. D espite that,the Defendants and their law firm s continue to allege otherwise
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      asthey prosecute foreclosure actionsaround thisnation.

             118. The D efendants have continued to system ically tile M ERS m ortgage

      assignments thatcontain materially false information afterthe NM S. The Defendants

      have presented these false M ERS m ortgage assignm ents as evidence of standing in

      foreclosureactionsevenwhen executed onbehalfofbarlkruptordefunctcompanies.

              119. The D efendants system ically caused false M ERS m ortgage assignm entsto

      be created and recorded in the public records som etim e afterthe defaulton the m ortgage

      loan. In m any foreclosure actions defended by the Plaintiff-Relator, the Defendants

      included language w ithin their com plaints claim ing that M ER S directly sold the

      prom issory note and m ortgage to the plaintiffin the action,which isa com plete falsity.

             120. M ERS nevertook an ownership interestin the prom issory notes and never

      sold any interestin the note orm ortgage to any plaintiff,nordid they have the capacity to

      do so. D espite their knowing that the M ERS assignm ents of m ortgages are false,the

      D efendants continued to presentthese false M ER S m ortgage assignm ents as evidence of

      standing and proofofinsurance claim sto the FHA seeking paym entofthe claim s.

                     The Honorable Federal Bankruptcy Judge A .J. Cristol, of the Southern

      DistrictofFlorida,found BO A 'sattem ptto preventa borrow erfrom asserting affirm ative

      defensesinherstateforeclosureactioninequitable,unjustandunconstitutional.
                     D espite the egregious conduct of the D efendants and their 1aw firm s,

      Plaintiff-Relator obtained k'sm oking gun''evidence in his ow n foreclosure that exposed

      M s.Garner'sandM s.Sjolander'stestimonytobefalse.
             123. Plaintiff-Relator's m ortgage loan was originated on or about June 23,

      2005 to purchase his property at 2971 Bird Avenue in M iam i-D ade County, Florida.

      Plaintiff-Relator signed a mortgage note and m ortgage from First M agnus Financial
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      Corporation for$215,810.00.

              124. In 2008,Plaintiff-Relator sent a qualified written request ($kQW R'') to
      CO UN TR YW ID E, his m ortgage servicer at the tim e, pursuant to the Real Estate

      SettlementProceduresAct,12U.S.C.jj2601,etseq.(itRESPA'').
                      Plaintiff-Relator's2008QW R requestedacopyofhisoriginalpromissory
      note that w as on tile with COUN TRYW ID E pursuantto RESPA . On or aboutO ctober

      l4,2008,COUNTRYW IDE responded to thePlaintiff-Relator'sQW R andsuppliedhim
      w ith a copy ofhisoriginalprom issory note.

                      The copy ofthe note that COUN TRY W IDE provided to Plaintiff-R elator

      in 2008 had no endorsem ents and had no allonge,w hich isa piece ofpaper affixed to the

      originalnote forendorsem ents.

              127. Plaintiff-Relator discovered that on or about August 31, 2011, BOA

      recorded an assignmentofm ortgage dated August26,2011thatclaimed M ERS sold the

      Plaintiff-Relator's m ortgage note and m ortgage to The Bank of N ew Y ork M ellon FKA

      the Barlk ofNew York (dçBONY'') asTrustee fortheCertificate holdersofCW ALT,
      Inc.,AlternativeLoanTrust,2005-35C8 (GûTRUST'D).
              128. A sdiscussed above,M ER S never owned Plaintiff-Relator'sm ortgage note

      or mortgage and never sold Plaintiff-Relator's m ortgage note or m ortgage to BONY,
      CW A LT , lnc.orthe TRU ST.4

              129. Plaintiff-Relator's further investigation revealed that his original lender,

      FirstM agnus FinancialCop oration,no longer had a relationship w ith M ER S atthe tim e



      4TheTennessee Suprem e Courtissued a very recentopinion thatdiscussed and thoroughly analyzed the
      M ERS businessm odelbeforeGndingthatM ERShad noconstitutionally protected property interestinany
      mortgage loans.See,M ortgageElectronic Registration Systems,lnc.v.CarltonJ.Ditto,Supreme Courtof
      TennesseeatKnoxvilleNo.E2012-02292-5C-R1I-CV,Opinion filedDecember1l,2015.
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      that the August 26, 2011 assignm ent w as executed. In fact, First M agnus Financial

      Corporation filed bankruptcy in August of 2007. See, ln re: First M agnus Financial

      Corp.,CaseNo.07-bk-01578,U.S.Bankruptcy CourtfortheDistrictofArizona.

                     W ithin the bankruptcy proceedings, First M agnus Financial Cop oration

      rejected all of its executory contracts in the bankruptcy proceedings,including any
      contractual relationship w ith M ERS. So in fact, Plaintiff-R elator discovered that the

      Bankruptcy Court never authorized First M agnus Financial Corporation to transfer the

      Plaintiff-Relator'sm ortgage note and m ortgage.

                     Like m any of his clients, after the 2008 crash in M iam i, the value of

      Plaintiff-Relator'shom e fellto substantially less than whathe ow ed on his m ortgage,and

      he stopped paying hism ortgage due to financialdifficulties.

              132. On June 4,2012, BONY as Trustee for the Certificate holders of the

      TRU ST filed a real property foreclosure action in M iam i-D ade County,Florida,under

      case num ber2012-20712-CA -31to foreclose on the Plaintiff-Relator'shom e.

              133. The action com m enced by B ON Y againstPlaintiff-Relator alleged thatthe

      TRUST owned the note originally made to FirstM agnus FinancialCorporation on June

      23,2005,for$215,810.00,thatitwastheholderthe note and mortgage and thereforewas

      entitled to enforce them .

                     B ON Y attached to the com plaint a copy of the Plaintiff-Relator's

      prom issory note,w hich now contained an allonge that w as not produced in response to

      thePlaintiff-Relator'sQW R backin October2008.
                     The undated allonge contained a specific endorsementpurportedly signed

      by Jolm Benge,asW arehousing M anagerforFirstM agnusFinancialCorporation without

      proofhe executed the allonge before the FirstM agnusFinancialCorporation bankruptcy.
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             136. The undated allonge further contained two rubber-stam ped signatures of

      Laurie M eder,as V ice PresidentofCountryw ide D ocum entCustody Services,a division

      of Treasury Bank, N .A ., and D avid A . Spector as M anaging D irector

      COUN TRY W IDE HO M E LOAN S,IN C.

                    Plaintiff-Relator tirstlearned ofthe TRU ST and any purported transfers of

      hismortgageloan when hewasserved with the foreclosurecomplaintin hisown case.

             138. Plaintiff-Relatorfound the allonge and alleged transfers suspectatbestas

      he had neverbeen given notice ofany transferofhism ortgage loan,such notices being

      requiredbytheTruthinLendingAct,l5U.S.C.jj1601,etseq.(û;TILA'').
                    Plaintiff-Relator, because of his extensive training, experience and

      investigations into securitized trusts, knew that for his m ortgage loan to be deposited

      properly into the TRU ST,m ultiple transfers would have to occur. Each such transfer

      requiresa notice oftransferpursuantto TILA and m ore specitically 15 U .S.C.1641.

                    Despite the Defendants'consistent objection to the Plaintiff-Relator's
      discovery dem ands w ithin his own foreclosure actions,he eventually obtained certain

      com puterscreenshotsby courtorder,w hich detailed certain aspects ofhism ortgage loan.

                    In A ugust of 2015, the Defendants produced screenshots known as

      DO C401R and D OC403R screenshots that detail RECON TRU ST'S records of when

      certain docum entscam e into the possession ofRECON TRU ST.

             142. These dism oking G un''screenshots obtained by the Plaintiff-Relator show

      that RECONTRUST first obtained possession of the allonge produced related to the

      Plaintiff-Relator'smortgage loan in Augustof2011.

             143. This explains why the allonge was not produced in response to the

      Plaintiff-Relator's2008QW R --itwasn'tinRECONTRUST'Spossession in2008.
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             144. Based upon the Plaintiff-Relator's investigation, he has discovered that

      D avid Spectorresigned from the Defendants'com orations in 2006.

                     The Defendants'own screen shots show thatthey firstobtained a copy Of

      the allonge in 2011,five (5)years afterDavid Spectorresigned from hisemployment
      w ith the D efendants.

             146. AccordingtobothM s.Garnerand M s.Sjolander,Mr.Spector'ssignature
      stam ps w ere collected in 2006 after he tenninated his em ploym ent and allegedly w ere

      never used again.

                     Based upon this, and further described details herein,itappears that the

      Defendantsin thiscase have produced witnesses who committed perjury to hide these
      bad actsfrom Plaintiff-Relatorduring his investigation into the STA M PS.

              148. The w itnesses are Senior Executives of BO A and RECON TRU ST w ho

      testitied falsely that RECON TRU ST em ployees aftixed surrogate signed endorsem ents

      on allnotes COUN TRW IDE and itsaffiliates originated w ithin days ofloan origination.

              149. This testim ony is dem onstrably false as Plaintiff-Relator obtained the

      k'sm oking gun''evidence in hisown foreclosure action thatRECON TRU ST did notcom e

      into possession ofthe allonge bearing M r.Spector's rubber-stam ped signature until2011,

      tive(5)yearsafterM r.SpectorlefthisemploymentwiththeDefendantsandhisstamps
      w ere allegedly collected.

              150. In truth, Defendants caused RECON TRU ST em ployees to system ically

      surrogate sign M r. Spector's signature using the STA M PS that contained his nam e to

      original notes for a11 loans originated before and after he left his em ploym ent in 2006.

      The Defendants continued this practice even after the Florida Attorney General's

      lnvestigation exposed the Robo-signing Scandal.
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             151. Since the outset of the Plaintiff-Relators targeted investigation into the

      STAM PS,the Defendants and their affiliate have hired num erous aggressive law firm s

      (ûûF1RM S'') thathave attempted to effectively shutdown his investigation,which is
      further circumstantialevidence thatthe allegations thatDefendants are stillusing false

      and fabricated evidence w ithin theirforeclosure actionstoday are true and correct.

             152. Thisis also furthercircum stantialevidencethatthe Defendantscontinue to

      file false claim s for FH A insurance paym ents today,even after the N M S. The FIRM S

      hired by theDefendantsand acting attheirdirection haveengaged in willful,wanton and

      intentionalbad faith litigation to preventthistruth from com ing to light.

                     The FIRM S are deliberately blocking the Plaintiff-Relator's investigation

      and discovery efforts as to the STAM PS. A 1lofthese effol'ts are further circum stantial

      evidencethatPlaintiff-Relator'sallegationsin thisComplaintare well-founded and true.

              154. The FIRM S have gone so far as to attem pt to get a sitting circuit court

      judgeto hold Plaintiff-Relatorin criminalcontemptforcontinuing hisinvestigation by
      mischaracterizingthePlaintiff-Relator'sactionsandthecircuitcourtjudge'sorder.
              155. Plaintiff-Relatorhashad to tightstrenuously and w ithoutpause in order to

      obtain discovery in the caseshe islitigating againstthe D efendantsw herein the STA M PS

      areanissue.Theonlymeaningfuldiscoveryhascomefrom thesittingstatecourtjudges
      intervening in the Plaintiff-Relator'sdiscovery efforts.

              156. TheDefendants'FIRM S havegonesofarastothrow judicialfundraisers
      forsittingcircuitcourtjudgesintheactionswhereintheSTAMPS arebeing investigated
      and m otions forsanctions for gross discovery violationsw ere pending.

                     Plaintiff-Relator has sought discovery consistently and w ithout pause for

      over tw o years now as to the STA M PS and the factthathe believes the D efendants are
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      and w ere system ically surrogate signing endorsem ents on originalnotes and then using

      them in foreclosure actionsand m aking false claim s upon FH A based upon the STA M PS.

                    Asa resultofthe dksmoking gun''evidence obtained in Plaintiff-Relator's

      own personal foreclosure action, the plaintiff settled that litigation with a loan

      modification thatprovided alm osta principalbalance reduction ofalm ost$200,000.00

      and acash paymentto Plaintiff-Relatorof$18,000.00,among otherthings.
             159. A fter Plaintiff-Relator accepted the plaintiff s settlem ent offer in his own

      personalforeclosure action,the plaintiffin thataction attem pted to force Plaintiff-Relator

      to release BOA ,a non-party to the litigation,from any claim s thatPlaintiff-Relator m ay

      have againstBOA ,including butnotlim ited to claim sunderthe FCA .

             160. The factthatthe 1aw firm forBON Y in Plaintiff-Relator'sown personal

      foreclosure action attem pted to force Plaintiff-Relator to release B OA ,a non-party to the

      litigation,for FCA claim s is further evidence thatthe D efendants and otherparties actas

      co-conspirators seeking to preventthe m isconductalleged herein from com ing to light.

                     The HonorableJudge M igna Sanchez-lwlorensultimately entered an order

      to enforce the settlem entofPlaintiff-Relator's case pursuantto Plaintiff-Relator's m otion

      to enforcem entthe settlem entw ithoutany release ofthese FCA claim sforBO A .

                     Defendants'efforts to settle Plaintiff-Relator's foreclosure action on such

      highly favorable term s,and to wrongfully expand thatsettlem entto include a release of

      FCA claim s for BOA , are further circum stantial evidence that the allegations in this

      Complaintarewellfoundedand true.

             163. The Plaintiff-Relatorhasdiscovered information thatthe Defendantshave

      subm itted 6,268 mortgage insurance claim sto the FHA forpaymentwhich contain the

      STAM PS and false assignm entsofm ortgages.
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                     A sa resultof such m ortgage insurance claim s m ade by the Defendantsto

      the FHA,theFHA haspaid theDefendantsatleast$622,234,247.29.

             165. Since M arch of 2015, Plaintiff-Relator through his law firm has m ade

      three(3)Freedom oflnfonuationAct(FOlA)requeststo HUD forthe underlying court
      casenum berswherein mortgage insurance claim swerem ade by Defendantsand paid by

      theFHA to theDefendants.

             166. ln its response,HUD asserted a privacy privilege as to the underlying

      court case information supporting each individual claim paid to Defendants,leaving

      D efendants as the sole party in possession of the evidence as to w hich specific court

      casesresulted in paid FH A claim sunderfalse pretenses.

                     H ow ever, D efendants' corporate representatives, M s. Garner and M s.

      Sjolander, both testified that all FHA insured GINNIE M AE loans used the same
      system ic process to surrogate sign endorsem ents using the STA M PS onto originalnotes.

             168. A llofBO A foreclosures on FH A insured G IN NIE M A E loanssince 2008,

      and continuing through and after the robo-signing scandaland NM S,also used false

      m ortgage assignm ents to buttress their evidence of standing to foreclose.

              169. U pon inform ation and belief, Defendants are in possession of evidence

      thatcan be obtained through discovery to establish every false m ortgage insurance claim

      m ade upon and paid by the FH A wherein false surrogate signed endorsem ents w ere

      placed onto original notes using the STAM PS and w herein false m ortgage assignm ents

      wereutilized to falsely claim sthattheDefendantswere entitled to paymentby theFHA.
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                                          C O UN T O N E :
                           VIOLATION OF 31U.S.C.j3729(a)(1)(A)
                                      FA LSE C LAIM S A CT
                        K N O W IN G LY PR ESEN TIN G A FALSE CLA IM

             170. Plaintiff-Relator restates and incorporates herein a11of the statem ents and

      allegations contained in the preceding Paragraphs 1 through 169 in their entirety,as if

      fully rewritten herein.

             171. TheDefendantshaveviolated3lU.S.C.j3729(a)(1)(A)inthattheyhave
      know ingly presented,or caused to be presented,a false or fraudulentclaim to the FH A

      forpaym entorapproval.

             172. From M arch 1,2012 through M ay 1,2015,the D efendants subm itted at

      least 6,268 claim s for m ortgage insurance claim s to the FHA and received over

      $622,234,247.29 in paymentsfrom theFHA .
                     W hen the Defendants subm itted these claim s to the FH A ,they did so

      know ing they were n0t legally entitled to these paym ents as the claim s relied upon false

      evidence including butnotlim ited to surrogate signed rubber-stam ped endorsem ents and

      false m ortgage assignm entsthatreflected transactions thatneveroccurred.

             174. A s a result of the D efendants' actions,Plaintiff UN ITED STA TES O F

      AM ERICA haspaid hundredsofm illionsofdollarstotheDefendants,which they arenot

      entitled to.

              175. Pursuantto 31 U.S.C. j 3729,the Defendants are now liable to the
      UNITED STATES OF AM ERICA for a civilpenalty of notless than $5,000.00 plus

      three timesthe amountofdamagesthatPlaintiffUN ITED STATES OF AM ERICA has

      sustained becauseofthe actionsoftheDefendant.
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                                          CO UN T TW O :
                            VIOLATION OF 31U.S.C.j3729(a)(1)(B)
                                    FA LSE C LA IM S A C T
         K N O W IN G LY M AK IN G O R U SIN G A FAL SE R EC O RD O R STA TEM ENT
                              M ATER IA L TO A FA LSE CLA IM

                     Plaintiff-Relator restates and incorporates herein al1of the statem ents and

      allegaticms contained in the preceding Paragraphs 1 through l69 in their entirety,as if

      fully rewritten herein.

             177. TheDefendantshaveviolated 31U.S.C.j3729(a)(1)(B)inthattheyhave
      know ingly m ade,used or caused to be m ade orused,a false record or statem entm aterial

      to a false orfraudulentclaim s upon FH A .

                     From M arch 1,2012 through M ay 1, 2015,the Defendants subm itted at

      least 6,268 claims for mortgage insurance claim s to the FHA and received over

      $622,234,247.29 in paymentsfrom theFHA .
             179. W hen the Defendants subm itted these claim s to the FHA,they did so

      know ing that they w ere not legally entitled to these paym ents as the relied upon false

      evidence including butnotlim ited to surrogate signed rubber-stam ped endorsem ents and

      false m ortgage assignm entsthatretlected transactions thatneveroccurred.

             l80. A s a result of the D efendants' actions, Plaintiff UN ITED STA TES OF

      AM ERICA haspaid hundredsofm illionsofdollarstotheDefendants,which they arenot

      entitled to.

                     Pursuant to 31 U.S.C. j 3729,the Defendants are now liable to the
      UN ITED STATES OF AM ERICA for a civilpenalty of notless than $5,000.00 plus
      three timestheamountofdamagesthatPlaintiffUNITED STATES OF AM ERICA has

      sustained because ofthe actions ofthe D efendant.
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                                        C O U NT TH REE :
                            VIOLATION OF 31U.S.C.j3729(a)(1)(C)
                                  FA LSE C LA IM S A C T
                     CONSPIRING TO VIOLATE THE FALSE CLAIM S ACT

             182. Plaintiff-Relatorrestatesand incorporatesherein al1ofthe statementsand

      allegations contained in the preceding Paragraphs 1 through 169 in their entirety,as if

      fully rewritten herein.

                      TheDefendantshaveviolated 31U.S.C.j3729(a)(1)(C)inthattheyhave
      conspiredamongstthemselvestocommitaviolationof31U.S.C.j3729(a)(1)(A)and31
      U.S.C.j3729(a)(1)(B).
             184. From M arch 1,2012 through M ay 1,2015,the Defendants submitted at

      least 6,268 claim s for m ortgage insurance claim s to the FHA and received over

      $622,234,247.29 in paymentsfrom theFHA .
                      W hen the Defendants subm itted these claim s to the FH A , they did so

      know ing that they were not legally entitled to these paym ents as the claim s w ere

      precipitated upon false evidence including but not lim ited to surrogate signed rubber-

      stamped endorsem entsand false assignmentsofmortgagesthatretlectedtransactionsthat

      neveroccurred.

                      A s a result of the Defendants' actions, Plaintiff UN ITED STATES OF

      A M ERICA haspaid hundredsofm illions ofdollarsto the D efendants,w hich they are not

      entitled to.

                      Pursuantto 31 U.S.C. j 3729,the Defendants are now liable to the
      UN ITED STATES OF AM ERICA for a civilpenalty of notless than $5,000.00 plus

      three tim esthe am ountofdam agesthatPlaintiffUN ITED STATES OF AM ERICA has

      sustained because ofthe actionsofthe Defendant.
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                                         PM YER FOR RELIEF

            W HEREFORE,the Plaintiff-Relator,BRUCE JACOBS, respectfully asks this

     HonorableCourtto enteranordergranting thePlaintiffand Plaintiff-Relatorajudgment

     forthe following:
                       An award to thePlaintiffUNITED STATES OF AM ERICA and Plaintiff-
                       RelatorBRUCE JACOBS ofcivilpenaltiesofnotlessthan $5,000.00 per
                       violation oftheFSA,
            (ii)       An awardtothePlaintiffUNITED STATES OF AM ERICA and Plaintiff-
                       Relator BRUCE JACOBS of three (3) times the damages which the
                       UN ITED STATES OF AM ERICA sustained because of the acts of the
                       Defendants,
            (iii) That the Defendants be ordered to immediately cease to utilize the
                       surrogatesigned endorsem entsand false M ERS assignmentsofm ortgages
                       described herein within courtactionsasevidenceofstanding,

             (iv) That the Defendants be ordered to abstain from making false
                       misrepresentations regarding the law of negotiable instnlm ents and the
                       2001 amendments to Article 9 ofthe UCC in any actions to enforce a
                       security instrument,whetherin state orfederalcourt,and,

                       Any suchotherreliefasthisHonorableCourtmaydeem meetandjust.


                                    DEM AND FOR JURY TRIAL
             The Plaintiff,UN ITED STATES OF AM ERICA ,and Plaintiff-Relator BRUCE

      JACOBSherebydemandsajurytrialastoa11issuessotriable.


                            CERTIFICATE OF REVIEW BY PLAINTIFF

             Thi Com plaintisbeing filed thisthe 14thday ofDecem ber2015 in United States
                   s

       DistrictCourtSouthern Districtof Florida and before the filing ofthis Com plaint,the

       Plaintiffreviewed al1materialallegationswithin itfortheirtruth and veracity.
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                CERTIFICATE OF COM PLIANCE W ITH 31U.S.C.k3730
           lH EREBY CER TIFY thatthe foregoing Com plaintshallbe filed in cam era with

     the Clerk ofthe Courtof the Southern District of Florida and shallremain under seal

     pursuantto 31U.S.C.j3730(b)(2). Assoon asallowable,the Plaintiff-Relatorin this
     action shall seek for the Clerk of the Court to issue summ ons against a11 named

     Defendantsin thisCivilAction.
                                              Respectfully subm itteds
                                              JACOBSIKEELEY,PLLC
                                              ALFRED 1.D UPONT B UILDING
                                              169EASTFLAGLER ST.,SUITE 1620
                                              M IAMI,FLORIDA 33131
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      D ATE: 12/14/15                         BY:          -

                                              COURT E.KEELEY,B .C .S
                                              FLORIDA BAR N O.23441
                                              BRUCEJACOBS
                                              FLORIDA BARN O.116203
